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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

UNITED STATES OF AMERICA,              )
        Plaintiff,                     )
                                       )
         v.                            )
                                       )               Case No. 4:19-cv-00415
ALEXANDRU BITTNER,                     )
         Defendant.                    )
_______________________________________)

         Declaration of Herbert W. Linder Pursuant to 28 U.S.C. 174

       1.      I am employed as an attorney with the United States Department of Justice, Tax

Division, Southwestern Civil Trial Section. In that capacity, I am one of the attorneys assigned

the responsibility for handling the case of the United States v. Alexandru Bittner. In connection

with this case, I have received certain files from the Internal Revenue Service, the defendants,

Department of the Treasury, third parties and the United States Department of Justice. The

Government Exhibits listed below are numbered such that each exhibit bears the same exhibit

number for all uses in the case. For example, Government Exhibit 1 would be same Government

Exhibit 1 as used in each witness deposition and this motion.

       2.      Government Exhibits 1-5, with schedules attached as Government Exhibit 42 are

true and correct copies is Bittner’s Amended FBARs which came out of the files provided by the

IRS.

       3.      Government Exhibit 6 is a true and correct copy of Bittner’s Form 2848 which

came out of the files provided by the IRS.

       4.      Government Exhibit 10 is a true and correct copy of a “Consent to Extend the

time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR Violations” signed by

Bittner which came of the files provided by the IRS.


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       5.     Government Exhibit 11 is a true and correct copy of a “Consent to Extend the

time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR Violations” signed by

Representative Farley Katz which came of the files provided by the IRS.

       6.     Government Exhibit 12 is a true and correct copy of a “Consent to Extend the

time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR Violations” signed by

Representative Farley Katz which came of the files provided by the IRS.

       7.     Government Exhibit 13 is a true and correct copy of a “Consent to Extend the

time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR Violations” signed by

Bittner which came of the files provided the IRS.

       8.     Government Exhibit 14 is a true and correct copy of a “Consent to Extend the

time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR Violations” signed by

Bittner which came of the files provided by the IRS.

       9.     Government Exhibit 15 is a true and correct copy of a “Consent to Extend the

time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR Violations” signed by

Bittner which came of the files provided by the IRS.

       10.    Government Exhibit 16 is a true and correct copy of a “Consent to Extend the

time to Assess Civil Penalties Provided by 31 U.S.C. § 5321 for FBAR Violations” signed by

Bittner which came of the files provided the IRS.

       11.    Government Exhibit 21 are true and correct copies of select statements from

Bittner’s UniCredit Tiriac Bank foreign account in Romania which came out of the files

provided by the IRS.




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       12.     Government Exhibit 24 are true and correct copies of select statements from

Bittner’s Licechtensteinische Landesbank numbered account in Liechtenstein which came out of

the files provided by the IRS.

       13.     Government Exhibit 25 are true and correct copies of select statements from

Bittner’s Royal Bank of Canada foreign account in Switzerland which came out of the files

provided by the IRS.

       14.     Government Exhibit 26 are true and correct copies of select statements from

Bittner’s Royal Bank of Canada foreign account in Switzerland which came out of the files

provided by the IRS.

       15.     Government Exhibit 27 are true and correct copies of select statements from

Bittner’s Royal Bank of Canada foreign account in Switzerland which came out of the files

provided by the IRS.

       16.     Government Exhibit 30 is a true and correct copy of a list of Bittner’s foreign

bank accounts which came out of the files provided by the IRS.

       17.     Government Exhibit 31 is a true and correct copy of an income chart of Bittner

which came out of the files provide by the IRS.

       18.     Government Exhibit 35 are true and correct copies of Bittner’s original FBARs

for the 1996-2011 which came of the files provided by the IRS.

       19.     Government Exhibit 36 is a true and correct copy of a letter provided to the IRS

with Bittner’s federal tax returns for the 1990-2011 years which came of the files provided by the

IRS.

       20.     Government Exhibit 37 is a true and correct copy of a letter provided to the IRS

with Bittner’s 1996-2011 FBARs which came of the files provided by the IRS.



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       21.     Government Exhibit 38 is a true and correct copy of a reasonable cause statement

provided to IRS by Bittner around 9/12/2013 Bittner which came of the files provided by the

IRS.

       22.     Government Exhibit 39 is a true and correct copy of a reasonable cause statement

Bittner provided to the IRS signed by Bittner which came of the files provided by the IRS.

       23.     Government Exhibit 41 is a true and correct copy of Bittner’s 2006 Amended

FBAR which came out of the files provided by the IRS.

       24.     Government Exhibit 42 is a true and correct copy of schedules of foreign bank

accounts that was attached to Bittner’s amended FBAR reports Government Exhibits 1-5 which

came of the files provided by the IRS.

       25.     Government Exhibit 43 is a true and correct copy of a list of the entities that

Bittner had an ownership interest in during the 2007-2011 years which came out of the files

provided by the IRS.

       26.     Government Exhibit 47 is a true and correct copy of a chart of Bittner’s personal

foreign bank accounts with bank balances which was provided by Bittner in discovery.

       27.     Government Exhibit 48 is true and correct copy of a list of Defendant’s foreign

bank accounts that he has an interest in with high accounts balances which was provided by

defendant through discovery.

       28.     Government Exhibit 50 is true and correct copy of Defendant’s list of accounts

that he asserts less 50% ownership in the Companies which came out of the files provided by

IRS.

       29.     Government Exhibit 51 is a true and correct copy of notes of Jeff Beckley which

came out of the files provided by the IRS.



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        30.     Government Exhibit 60 is a true and correct copy of Defendant’s Responses to the

United States’ Request for Admissions obtained through discovery from defendant Bittner in

this case which came out of the United States Department of Justice legal files.

        31.     Government Exhibit 61 are true and correct copies of Certified Transcripts for the

assessment of penalties against Bittner pursuant to 31 U.S.C. § 5321(a)(5) for non-willful failure

to timely file FBARs reporting his financial interest in numerous accounts for 2007, 2008, 2009,

2010 and 2011 which came out of the files provided by the Internal Revenue Service,

(“IRS”).

        32.     Government Exhibit 62 is a true and correct copy of a Form 13449 Agreement to

Assessment and Collection of Penalties pursuant to 31 U.S.C. § 5321(a)(5) and 5321(a)(6) and

accompanying schedules for Bittner’s non-willful failure to timely file FBARs reporting his

financial interest in numerous accounts for 2007, 2008, 2009, 2010 and 2011 which came out

of the files provided by the IRS.

        33.     Government Exhibit 63 is a true and correct copy of an IRS letter to Bitner

informing him of the FBAR assessments along with the Form 886-A Revenue Agent’s report

regarding the FBAR penalties which came out of the filed provided by the IRS.

        34.     Government Exhibit 64 is a true and correct copy of excerpts for IRS Revenue

Agent Anh Reach’s deposition transcript, which came from her February 10, 2020, deposition

taken in this case.

        35.     Government Exhibit 65 is a true and correct of the Revenue Agents’ calculations

of aggregate balances in Bittner’s foreign accounts which came out of the files provided by the

IRS.




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       36.     Government Exhibit 66 is a true and correct of selected financial statements for

Global Re Limited for 2006-2009 which came out of the files provided by the IRS.

       37.     Government Exhibit 67 are true and correct copies of IRS transcripts for Bittner’s

1991 and 1997-2000 tax years which came out of the files provided by the IRS.

       38.     Government Exhibit 68 is a true and correct copy of selected portions of Bittner’s

deposition transcript, which came from his February 12, 2020, deposition taken in this case.

       39.     Government Exhibit 69 is spreadsheet calculation removing account balances

which came of the legal files at the United States Department of Justice.



Executed on the 9th day of March, 2020.



                                             /s/ Herbert W. Linder
                                             Herbert W. Linder




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